Case 1:11-mj-00771-TRJ Document 6 Filed 09/15/11 Page 1 of 1 PagelD# 10
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

MAGISTRATE JUDGE: THERESA CARRROLL BUCHANAN

UNITED STATES OF AMERICA HEARING: RS CASE NO. #: [-M$-77 /
-VS- DATE: G16 [4 TIME: a 00 ort

| | | 1 | . TYPE: FTR RECORDER DEPUTY CLERK: G. WALKER
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GOV'T. ATTY: (othe VWeeraloly DEFT'S. ATTY: () Dau NUnit,

INTERPRETER: LANGUAGE:

) DEFT. INFORMED OF RIGHTS, CHARGES, PENALTIES (  ) DFT. ADMITS VIOLATIONS
\y ) COURT TO APPOINT COUNSEL ) DFT. DENIES VIOLATIONS

) DFT. TO RETAIN COUNSEL ) COURTS FINDS DFT. IN VIOLATION
y ) USA SEEKS DETENTION ( X) GRANTED (_ ) DENIED ) JURY TRIAL WAIVED

) RULE 40 HEARING WAIVED ) CONSENT BEFORE MAG. JUDGE

) GVT. CALL WITNESS & ADDUCES EVIDENCE ) PLEA OF GUITLY TO COUNT(s) ___

) EXHBIT # ADMITTED ) PLEA OF NOT GUITY TO COUNT

) PROBABLE CAUSE: FOUND(—_-)/ NOT FOUND(_) ) GVT. DISMISSES COUNT(S)_

) PRELIMINARY HEARING WAIVED ) DFT. REFERRED TO UPSO FOR PSIR

) MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY

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MINUTES:

 

 

 

CONDITIONS OF RELEASE:

(S ) UNSECURED ($ )SECURED( )PTS( )3®°PARTY( ) TRAVEL RESTRICTED

( )APPROVED RESIDENCE( )SATT( )PAYCOSTS( )ELECTRONIC MONITORING(  )MENTAL
HEALTH TEST/TREAT( )ROL( )NOTDRIVE( )FIREARM(  )PASSPORT( ) AVOID CONTACT

( )ALCOHOL & DRUG USE(  ) EMPLOYMENT

( ) RELEASE ORDER GIVEN TO USMS

()¢) DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHALS

(“ ) DEFENDANT CONTINUED ON SAME CONDITIONS OF RELEASE

SENTENCING:

( )MONTHS PROBATION( _ ) SUP( ) UNSUP( )3607 (|) YRS SUP RELEASE

(| )DAYSJAIL( ) AS DIRECTED PURSUANT TO 18 USC 3563(b)(10) (|) CREDIT

( )DAYS HOME DETENTION( )TIMEOQUTS( _) ELECTRONIC MONITORING

( )SATT( )ALCOHOLPROGRAM( )ROL( )NODRIVING( _)INTERLOCK DEVICE
(| )MENTAL HEALTH TEST/TREAT( _) BARRED FROM FEDERAL PARKS

(| )HRS. COMMUNITY SERVICE( _) NOT VIOLATE TRAFFIC LAWS

($ ) FINE ($ )S.A.($-) PROCESSING FEE AS TO COUNT

(S ) FINE (S$ )S.A.($ ) PROCESSING FEE AS TO COUNT

NEXT COURT APPEARANCE: / His, /} at ) OG2m Before Judge

( 0) DH(X)PH( )STATUS( )TRIAL( )JURY( )PLEA( )SENT( )PBV( )SRV(_ )R5
